UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ADIDAS AMERICA, INC., an Oregon corporation; and
ADIDAS AG, a foreign entity,

                                   Plaintiffs,                No. 1:21-cv-05615-JSR

              v.

THOM BROWNE INC., a Delaware corporation,

                                   Defendant.



                                    JURY VERDICT FORM

         This is the form on which you will provide your verdicts. Please read all instructions in
italics carefully.

I.     Thom Browne’s Liability

       Please answer all five questions in this Section by placing an “X” in the appropriate
blank under each question.

       (1)     On adidas’s claim for trademark infringement under federal law, do you find for
               adidas?

                              _________ Yes                 ________ No

       (2)     On adidas’s claim for unfair competition under federal law, do you find for
               adidas?

                              _________ Yes                 ________ No


       (3)     On adidas’s claim for trademark dilution under federal law, do you find for
               adidas?

                              _________ Yes                 ________ No


       (4)     On adidas’s claim for injury to business reputation and dilution under New York
               law, do you find for adidas?



                                                 1
                             _________ Yes                ________ No


       (5)    On adidas’s claim for trademark infringement and unfair competition under New
              York law, do you find for adidas?


                             _________ Yes                ________ No


II.    Willfulness

      If you answered “Yes” to any of questions (1), (2), (3), (4), or (5) in Section I (“Thom
Browne’s Liability”), then please answer the question in this Section by placing an “X” in the
appropriate blank after the question.

       (6)    Do you find that Thom Browne acted willfully?


                             _________ Yes                ________ No


III.   adidas’s Remedies

        If you answered “Yes” to any of questions (1), (2), or (5) in Section I (“Thom Browne’s
Liability”), then please complete this Section.

       (7)    On the line below, write out the dollar amount of Thom Browne’s profits from
              sales of the Accused Products that should be awarded to adidas, if any:


                      $___________________________________________


       (8)    On the line below, write out the dollar amount of reasonable royalty damages that
              should be awarded to adidas, if any:


                      $___________________________________________




                                               2
IV.    Punitive Damages

       If you answered “Yes” to question (5) in Section I (“Thom Browne’s Liability”), then
please complete this Section.

       (9)    On the line below, write out the dollar amount of punitive damages that should be
              awarded to adidas, if any:


                      $___________________________________________


V.     Laches Defense

      If you answered “Yes” to any of questions (1), (2), (3), (4), or (5) in Section I (“Thom
Browne’s Liability”), then please answer the questions in this Section by placing an “X” in the
appropriate blank after the question.

       (10) Do you find that adidas had constructive knowledge of a provable infringement
claim against Thom Browne prior to May 2012?


                             _________ Yes                ________ No

       If you answered “No” to question (10), then you do not need to answer the next
questions. If you answered “Yes,” please continue.

       (11) Do you find that adidas’s delay in objecting to the Accused Products was
reasonable under the circumstances?


                             _________ Yes                ________ No

        If you answered “Yes” to question (11), then you do not need to answer the next question.
If you answered “No,” please continue.


       (12) Do you find that Thom Browne suffered material prejudice as a result of an
unreasonable delay by adidas?


                             _________ Yes                ________ No




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        When you have completed all five sections, please sign and date this form and return it to
the bailiff.


_____________________________________                       ______________________

JURY FOREPERSON                                             DATE




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